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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:88-cr-01007-MP-AK

GREGORY D. SANDERS,

      Defendant.
___________________________/

                                              ORDER

       This matter is before the Court on Doc. 1255, Motion for Reconsideration, filed by

Defendant Gregory D. Sanders. Defendant seeks reconsideration of this Court’s August 14,

2008, order denying his motion to reduce sentence under 18 U.S.C. § 3582(c)(2). Doc. 1249.

Defendant’s motion to reduce sentence was based on Amendments 706 and 711 to the United

States Sentencing Guidelines (“Guidelines”). Under the amended Guidelines, Defendant’s Total

Offense Level remained unchanged at Level 38. Therefore, this Court held that Defendant is not

entitled to a reduction under § 3582(c)(2).

       In his motion for reconsideration, Defendant invites the Court to revisit the arguments

made in Defendant’s motion to vacate, which the Court denied on March 23, 2000. Doc. 755.

For instance, Defendant argues that the amount of cocaine base found to be legally attributable to

him at sentencing was only 1.5 kg. Defendant has also filed a motion for clarification (Doc.

1233) asking the Court to confirm this finding. Contrary to Defendant’s assertions, Defendant

was found liable for more than 1.5 kg of cocaine base. As indicated in the Court’s order at Doc.

1249, the Court adopted the finding in the Presentence Report that the amount of cocaine base

legally attributable to Defendant was 11.45 kg. See also Doc. 755 at 2. Finding no reason to
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reconsider the Court’s previous order, it is hereby

        ORDERED AND ADJUDGED:

        1. The motion for reconsideration at Doc. 1255 is DENIED.

        2. The motion for clarification at Doc. 1233 is DENIED.

        DONE AND ORDERED this            17th day of September, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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